Case 2:20-cv-11718-GAD-DRG ECF No. 44, PagelD.1103 Filed eee ET 1 of1

OFFICE OF MEDICAL EDUCATION
April 10, 2019

Anthony Eid

1247 Selden

Detroit, MI 48201
Student No: 004087570

Dear Mr. Eid:

| regret to inform you that at its meeting on April 10, 2019 the Promotions Committee denied your appeal
regarding reconsideration of your dismissal from the school of medicine. The committee reviewed and
discussed your written appeal statement and determined that the information you provided was not
sufficient to reverse their decision of dismissal made on February 27, 2019. This is the final action at the
school of medicine.

You may appeal this final decision of the school to the Provost of the University. Please refer to the
paragraph below for the academic appeal procedure:

If, after your School/College appeal path is exhausted and you wish to continue with the
grade appeal process, per the University Academic policy, you may request a Provost Review
within 30 days of this decision. The request should be submitted via the online form located
at https://provost.wayne.edu/academic-policy. For assistance with the appeal process, you
may contact the Ombudsperson Laura Birnie-Lindemann at ombudsoffice@wayne.edu.

Sincerely,

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Richard S, Baker, MD
Chair, Medical Student Promotions Committee
Vice Dean of Medical Education

cc: Margit Chadwell, MD, Associate Dean, Student Affairs
Mrs. Loretta Robichaud, Academic Counselor, Student Affairs
Office of Records and Registration, Division of Enrollment Management
Office of Financial Aid, Division of Enrollment Management
Dr. Darin Ellis, Associate Provost for Academic Programs

 

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